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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )            Case No. 8:10CR91
                                             )
              v.                             )
                                             )     FINDINGS AND RECOMMENDATION
ALBERTO HEREDIA-CASTRO,                      )              AND ORDER
                                             )
                     Defendant.              )


       At the conclusion of the hearing on July 14, 2010, on defendant’s Motion to
Suppress (#Motion to Suppress [44], I stated my conclusions on the record and my
decision to recommend that the motion to suppress be denied. In accordance with that
announcement,
       IT IS RECOMMENDED to the Honorable Chief Judge Bataillon, United States
District Judge, that the Motion to Suppress [#44] be denied in all respects.
       FURTHER, IT IS ORDERED:
       1.     The clerk shall cause a transcript of the hearing to be prepared and filed.
       2.     Pursuant to NECrimR 59.2, any objection to the magistrate's Findings and
Recommendation shall be filed with the Clerk of the Court within fourteen (14) days after
the unredacted transcript is available to counsel. Failure to timely object may constitute a
waiver of any such objection. The brief in support of any objection shall be filed at the time
of filing such objection. Failure to file a brief in support of any objection may be deemed
an abandonment of the objection.
       Dated this 14th day of July, 2010.

                                             BY THE COURT:


                                             S/ F.A. Gossett
                                             United States Magistrate Judge
